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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION

IN RE: ROUNDUP PRODUCTS LIABILITY                               Case No. 16-MD-2741-VC
LITIGATION


THIS DOCUMENT RELATES TO

Bundy v. Monsanto, 20-cv-06345-VC
                                                 I

     PLAINTIFF, ROBERT BUNDY’S SECOND MOTION FOR LEAVE TO AMEND
            COMPLAINT TO JOIN ADDITIONAL PARTY DEFENDANT,
                 FOR REMAND DUE TO A LACK OF DIVERSITY


       COMES NOW, Plaintiff, Robert Bundy, by and through his undersigned counsel,


and files this Second Motion for Leave to Amend Complaint to Join Additional Party


Defendant, and for Remand Due to a Lack of Diversity, and Incorporated Memorandum of

Law in Support, and would state:


                                        MOTION


1.     This case involves literally thousands of individual lawsuits by individuals who used


       the “Roundup” weed killing product manufactured by Defendant, Monsanto Co. The


       claimants have suffered from lymphoma as a result of contact with the “Roundup”


       product.


2.     Plaintiff, Robert Bundy, owned a landscaping business.   Every day for over 6 years,

       he sprayed Roundup as part of his business.     Like many, if not all, of the other


       claimants in the Roundup litigation, he was diagnosed with lymphoma.

3.     Robert Bundy filed suit in the Circuit Court in and for Sarasota County, Florida. The


       lawsuit was removed to Federal Court based on diversity jurisdiction.     Thereafter,




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      the case was consolidated with the other Roundup cases, and was joined as part of


      the Court’s “multidistrict lawsuit.”


4.    On April 28, 2021, Plaintiff filed his Motion for Leave to Amend the Complaint, Join


      Additional Party Defendant and to Remand Due to Lack of Diversity based on the


      fact that Plaintiff had identified M&W Supply, Inc., a Florida based company as the


      party responsible for selling Roundup to Plaintiff.


5.    On September 10, 2021, this Court denied Plaintiffs Motion for Leave to Amend the


      Complaint, Join Additional Party Defendant and to Remand Due to Lack of Diversity


      based, in part, on the fact that M&W is a dissolved corporation (though the court


      noted this was not the only dispositive issue.)


6.    Seemingly    left   with   no   alternative       but   to   pursue   its   claims   against   M&W


      concurrently in state court the Plaintiff began preparing a lawsuit directly against


      M&W.     In the course of this preparation the Plaintiff discovered new evidence which


      shows that M&W Supply, Inc. continues to operate under a new corporate entity


      name, NKC Enterprises, Inc.


7.    NKC Enterprises is a mere continuation of M&W; see Lab. Corp, of America v.


      ProfI Recovery Network, 813 So.2d 266, 269 (Fla. 5th DCA 2002).

8.    Plaintiff was unaware that M&W continued to operate under a different corporate


      name until after this Court’s Order denying Plaintiffs Motion for Leave to Amend


      the Complaint, Join Additional Party Defendant and to Remand Due to Lack of


      Diversity and the Plaintiff began to pursue a separate state court action against


      M&W.



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9.     On October 29, 2021, Plaintiff filed his lawsuit in the Circuit Court in and for


       Sarasota County, Florida, case number: 2021 CA 005137 against NKC Enterprises,

       Inc. d/b/a M & W Supply Co., and M & W Supply, Inc (collectively “M&W”). This

       Compliant is attached hereto as Exhibit “B”.


10.    In this motion, the Plaintiff seeks leave of the Court to amend his Complaint to 1)

       join M&W Supply, Inc. and NKC Enterprises, Inc., as a party defendants, and 2)


       raise claims for strict liability against M&W, for distributing/selling an inherently


       dangerous product. The proposed Amended Complaint is attached hereto as Exhibit


       “A”.


11.    Upon the joinder of M&W, a Florida for profit corporation, as a party Defendant,


       diversity jurisdiction will no longer exist, such that the case must be remanded back


       to the Circuit Court in and for Sarasota County, Florida at which time the concurrent


       state action (2021 CA 005137) can be consolidated into the subject case.


                                     MEMORANDUM OF LAW


A.     The Plaintiff requires leave to amend to join M&W Supply, Inc. as an additional
       party Defendant, and to raise claims against it.


       Rule 20 of the Federal Rules of Civil Procedure, entitled and governing “Permissive


Joinder of Parties,” provides, in relevant part, as follows:


       (a)     Persons Who May Join or Be Joined.
                                                  *   *   *


               (2)     Defendants. Persons—as well as a vessel, cargo, or other property
                       subject to admiralty process in rem—may be joined in one action as
                       defendants if:

                       (A)        any right to relief is asserted against them jointly, severally, or
                                  in the alternative with respect to or arising out of the same
                                  transaction, occurrence, or series of transactions or
                                  occurrences; and
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                       (B)       any question of law or fact common to all defendants will arise
                                 in the action.


The requirements of Rule 20(a) are construed liberally in order to promote broadest scope of

action consistent with fairness to parties.       See e.g., Cordero v. AT&T, 190 F.R.D. 26, 1999

U.S. Dist. LEXIS 17650 (D.P.R. 1999).


       As the Court correctly pointed out in its September 10, 2021 Order, once a case has

been removed, the court must look at additional factors in determining whether or not a

Plaintiff can “join additional defendants whose joinder would destroy subject matter

jurisdiction.” 28 U.S.C. § 1447(e). Pursuant to San Jose Neurospine v. Cigna Health & Life


Insurance Co., 2016 WL 7242139, at *6 (N.D. Cal. Dec. 15, 2016), those factors include:

        1) whether the party sought to be joined is needed for just adjudication and
        would be joined under Federal Rule of Civil Procedure 19(a);
        2) whether the statute of limitations would preclude an original action
        against the new defendants in state court;
        3) whether there has been unexplained delay in requesting joinder;
        4) whether joinder is intended solely to defeat federal jurisdiction;
        5) whether the claims against the new defendant appear valid; and
        6) whether denial of joinder will prejudice the plaintiff.


Each of the factors are discussed below:


               1.      Whether       the   party     sought   to   be   joined   is   needed   for    just
               adjudication and would be joined under Federal Rule of Civil Procedure
               19(a)


          “Federal Rule of Civil Procedure 19 requires joinder of persons whose absence


would preclude the grant of complete relief, or whose absence would imped their ability to


protect their interests or would subject any of the parties to the danger of inconsistent


obligations.” Boon v. Allstate Ins. Co., 229 F. Supp. 2d 1016, 1022 (C.D. Cal. 2002) citing


Clinco v. Roberts, 41        F. Supp. 2d     1080,   1082 (C.D. Cal.      1999); Fed.R.Civ.P.        19(a).


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Furthermore, “The standard is met when failure to join will lead to separate and


redundant actions, but it is not met when defendants are only tangentially related to the


cause of action or would not prevent complete relief.” [Emphasis added] Id. citing IBC

Aviation Services, Inc, v. Compania Mexicana de Aviacion, S.A. de C.V., 125 F. Supp. 2d

1008, 1011-1012 (N.D. Cal. 2000). Lastly, Gallahar v. George A. Rheman Co., 50 F. Supp.


655, 1943 U.S. Dist. LEXIS 2460 (D. Ga. 1943) held that the philosophy of the Federal

Rules of Civil Procedure is to discourage separate actions which make for multiplicity of

suits and wherever possible to permit, and sometimes require, combining in one litigation


all   cross-claims    of parties,   particularly   where   they   arise   out   of same   transaction;


amendments are more liberally allowed under Federal Rules than before.


             In the matter at hand, Plaintiff seeks to avoid potential inconsistent verdicts or


redundant actions if the case against Monsanto and the case against M&W are tried


separately.    Here, the Plaintiff is the same, the injuries to the Plaintiff are the same and the


product at issue is the same.       Further, it is all but certain that M&W will file a third party


action against Monsanto in the state case which has the potential to create abhorrent


inconsistent verdicts. There is no question that Florida law provides that manufacturers and


sellers/retailers of dangerous products are strictly liable for the damages caused by products


they sell.    In fact, the substantive merit to the Plaintiffs claim against the distributor of the


inherently dangerous “Roundup” product has already been established in other courts.               By


way of example only, the court in Johnson v. Monsanto Co., No. 16-cv-01244-MMC, 2016


U.S. Dist. LEXIS 58309, at *5-7 (N.D. Cal. May 2, 2016), held as follows:


        In its Notice of Removal, Monsanto initially argues that Wilbur-Ellis Co. has been
        fraudulently joined, for the asserted reason that the complaint lacks "specific factual
        allegations of liability" on the part of Wilbur-Ellis Co. (See Notice of Removal H 16.)
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      The Court is not persuaded. As noted, plaintiff alleges Roundup is a defective
      product due to the presence therein of glyphosate (see Compl. PP 22, 56-62, 64, 81-
      82); plaintiff further alleges Wilbur-Ellis was "one of the distributors providing
      Roundup and other glyphosate-containing products actually used by [p]laintiff" (see
      Compl. H 71). Under California law, an entity that places a "defective product into
      the stream of commerce" can be held strictly liable for injuries caused by that
      product. See Bell v. Industrial Vangas, Inc., 30 Cal. 3d 268, 271 n.l, 279, 179 Cal.
      Rptr. 30, 637 P.2d 266 (1981). To the extent Monsanto is contending plaintiffs
      allegations as to the nature of the defect or Wilbur-Ellis Co.'s role as a distributor are
       not sufficiently detailed, such argument is unavailing, as Monsanto has not shown
       the state court would preclude amendment.


In keeping with this holding, the court in Taylor v. Costco Wholesale Corp., No. 2:20-cv-


00655-KJM-DMC, 2020 U.S. Dist. LEXIS                 187348, at *1-2 (E.D. Cal. Oct. 7, 2020),

observed as follows regarding a claim against the retailer Costco for selling Roundup:


       In this putative class action, plaintiff sues Costco, a retailer, for selling Roundup, a
       weed killer containing an allegedly cancer-causing chemical, glyphosate. Compl.
       1-2, ECF No. 1. Monsanto, the manufacturer of Roundup, is not a party to the case.
       Plaintiff purchased Roundup twice from a Costco store in Shasta County. Id. 1) 79.
       Defendant did not provide any information that Roundup was carcinogenic. Id.   80.
       Plaintiff asserts he would not have purchased Roundup if he had known of its
       carcinogenic properties. Id. 1) 82.
                                             *   *   *


       A court should give leave to amend when justice so requires. Fed. R. Civ. P.
       15(a)(2). Rule 15 of the Federal Rules of Civil Procedure evinces a preference for
       leave to amend that is "to be applied with extreme liberality." Eminence Capital,
       LLC v. Aspeon, Inc,, 316 F.3d 1048, 1051 (9th Cir. 2003) (citations omitted). It may
       be an abuse of discretion to dismiss with prejudice unless it is clear that the
       complaint could not be saved by amendment. Id. at 1052.


         Because the court cannot conclude no facts exist that could support Costco's
       personal participation in the scheme, the court grants leave to amend.


As is seen in the above-cited authorities, Roundup has been determined to be inherently


dangerous, and retailers of Roundup have been held liable for participating in the chain of


commerce leading to injuries from its use. The substantive merit to the Plaintiffs requested


amendment is clear.     Therefore, it is proper to allow the Plaintiff to join M&W as the



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supplier of the product at issue so that this matter can be remanded and consolidated with


the state action against M&W only (2021 CA 005137).



              2.    Whether the statute of limitations would preclude an original action
               against the new defendants in state court


       In previous filings, most particularly Plaintiffs reply to Monsanto’s memorandum in

opposition to the Plaintiffs original motion for leave to amend its complaint, the Plaintiff


outlined that the statute of limitations would not preclude an original action against M&W

Supply, Inc. and Plaintiff will incorporate those arguments here. The primary arguments which


illustrate that the statute of limitations would not preclude an original action against M&W


Supply, Inc. are that the Second Amended Complaint does expressly allege, in paragraph 25, that


the Plaintiff “first had notice that Roundup was the cause of his Lymphoma on or about April 2,


2020 when he was provided a report by Dr. Tony S. Quang” and that under the facts of the


instant case Florida law would allow the suit to proceed against the dissolved corporation.


       Substantively, §607.1407(2) provides:
       (2) If the dissolved corporation complies with paragraph (l)(a) or paragraph (l)(b),
       unless sooner barred by another statute limiting actions, the claim of each of the
       following claimants with known or other claims is barred unless the claimant commences
       a proceeding to enforce the claim against the dissolved corporation within 4 years after
       the date of filing the notice with the department or the date of the second consecutive
       weekly publication, as applicable:
               (a) A claimant who did not receive written notice under s. 607.1406.
               (b) A claimant whose claim was timely sent to the dissolved corporation but on
               which no action was taken by the dissolved corporation.
               (c) A claimant whose claim is not a known claim under s. 607.1406(5).


          As the Plaintiff first had notice that Roundup was the cause of his Lymphoma on or


about April 2, 2020 (and M&W Supply, Inc. was dissolved over seven years ago) he indisputably


would fall under the exception of someone who whose claim was not a known claim under


§607.1407(2)(c) and there would be no issue with pursuing the claims against M&W Supply,
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Inc.   Further, the recently identified information supporting that that M&W Supply, Inc.


continues to operate under a new corporate entity name, NKC Enterprises, Inc. and the


claim in the proposed Second Amended Complaint against NK.C Enterprises, Inc. which is


an active Florida corporations pushes this factor squarely in favor of granting amendment.


                 3.   Whether there has been unexplained delay in requesting joinder


          The Plaintiff is entitled to constantly evaluate its claims and to bring valid causes


of action against those persons and entities it has legally recognizable claims.     After this


matter was removed to Federal Court and around the time it was transferred to the multi


district litigation, a representative from Monsanto raised the issue with counsel for Plaintiff


that it believed the Plaintiffs lymphoma was more accurately characterized as Hodgkin’s


Lymphoma as compared to the more common Non-Hodgkin’s Lymphoma.                        Further,


Monsanto took the position that this difference was fatal or potentially fatal to any potential


causation analysis as it relates to Roundup causing the Plaintiffs lymphoma.       Rather than


pursue additional claims in light of this contention, the Plaintiff sought additional expert


opinion from Dr. Claire E. Murphy who confirmed that Monsanto’s contention in this regard


was incorrect.    Having resolved this issue the Plaintiff immediately attempted to amend its


complaint on April 27, 2021. The Court denied the Plaintiffs initial motion to amend on or


about September 10, 2021.          The Plaintiff subsequently discovered the M&W business was


ongoing in late October and shortly thereafter filed its state action against the M&W entities

and has just as quickly filed the instant motion.      The timing prejudices no one and is no


basis for denying the ability to seek a judgment against the party that sold him Monsanto’s


deadly product as Florida law clearly recognizes this claim.       On this point, the Plaintiff



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would note the decision in Mudra Int’l, Ltd. Liab. Co. v. Kellwood Co., No. CV 08-03642


DDP (JCx), 2008 U.S. Dist. LEXIS 126103, at *14-17 (C.D. Cal. Sep. 16, 2008), as follows:



      3. Unexplained Delay in Requesting Joinder


        Courts also consider whether the delay between the filing of the initial complaint
      and the filing of the amended complaint was reasonable. In judging this factor, the
      court will consider the amount of time between filings, as well as the reason for any
      delay. See Bakshi v. Bayer Healthcare, LLC, 2007 U.S. Dist. LEXIS 33801, 2007
      WL 1232019 *4 (N.D. Cal. 2007). For example, courts have found an amendment
      timely when a plaintiff received new information as a result of discovery responses,
      see Palestini, 193 F.R.D. at 658; when a plaintiff sought amendment after a particular
      action by a defendant, see City of Perth Amboy v. Safeco Ins. Co. of Am., 539 F.
      Supp. 2d 742, 747 (D.N.J. 2008) (plaintiff sought leave to amend after the defendant
      counterclaimed); IBC, 125 F. Supp. 2d at 1012 (plaintiff sought leave to amend after
      defendants refused to stipulate); when a plaintiff sought to add both new relief and
      a new defendant, see City of Perth Amboy, 539 F. Supp. 2d at 747; and when a
      plaintiff had substituted counsel, see Boon, 229 F. Supp. 2d at 1023.
                                           *   *   *


      Kellwood attempts to give this court "reason to doubt [Mudra's] explanation" for the
      delay. Palestini, 193 F.R.D. at 658. Incorporating by reference its arguments
      opposing Mudra's first motion for leave to amend, Kellwood first argues that an eight
      month delay between filing the complaint and first attempting to join these
      defendants is too long. Additionally, and perhaps more persuasively, Kellwood
      argues that Mudra's attempt to shift the blame to Kellwood is inappropriate because
      the Mudra's allegations are based   entirely on documents it has had in its possession
      the entire time.


         The Court did not comment on this factor in its March Order apart from the
      factor's relationship to the issue of motive, discussed immediately above. The March
      Order, however, suggested that the Court found Mudra's reason for waiting eight
      months persuasive. March Order at 6 ("It is often reasonable, both as a matter of
      strategy and to promote judicial economy, for a plaintiff to conduct further
      discoyery before seeking to amend its claims or join additional parties. "). The
       Court's analysis has not changed. Accordingly, to the extent Kellwood re-asserts its
      arguments regarding the timeliness of the first amended complaint, the Court
      rejects Kellwood’s arguments. (Emphasis added).


The delay in filing the case against M&W is reasonable under Mudra.      See also, Gutierrez-


Aniceto v. United Van Lines, 2003 Cal. Super. LEXIS 7375 (Superior Court of California


2003)(concluding that “[t]hus, a delay similar to that in Lopez has occurred in the present
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action. In this case, a delay of approximately four months has occurred between removal (on


April 26, 2002) and the motion to amend (on September 3, 2002) by adding non-diverse


parties. In Lopez, the comparable delay was six months. Id. As the defendants aptly note,


plaintiff has had time and opportunity to add CCSF as a party. Plaintiffs unexplained delay

favors   denying plaintiffs        motions   to   amend   and   remand,   but the delay is not so

unreasonable as to compel denial of plaintiffs motion to remand” (Emphasis added)); See


also, Camacho v. JLG Indus., Inc., No. SA CV 17-1188-DOC (KESx), 2017 U.S. Dist.


LEXIS 189286, at *14 (C.D. Cal. Nov. 15, 2017)(finding a seven month delay to be

reasonable). In the end, even assuming that this Court finds the delay to be “unreasonable,”


this, standing alone, is insufficient to defeat the joinder and remand.         See e.g., Camacho v.


JLG Indus., Inc., No. SA CV 17-1188-DOC (KESx), 2017 U.S. Dist. LEXIS 189286, at *5


(C.D. Cal. Nov. 15, 2017)(“The Ninth Circuit holds that these factors are not of equal


weight; specifically, ‘delay alone no matter how lengthy is an insufficient ground for denial


of leave to amend.’”).


                4.    Whether joinder is intended solely to defeat federal jurisdiction


           As discussed above, Plaintiffs claims against the M&W Defendants are fully valid


under Florida law and are not barred by any statute of limitations or due to the fact that one


of the M&W Defendants was dissolved.                The motive has nothing to do with defeating


jurisdiction and is purely an attempt to get all the actionable Defendants in the same case.


The less than one year delay in attempting to join the M&W Supply, Inc. was primarily a


factor of Plaintiff prudently evaluating his causation evidence.          There has been virtually no


delay between the Plaintiffs discovery of evidence which would support a claim against,


NKC Enterprises, Inc.       and the instant motion.         Having multiple Defendants provides
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multiple sources to try to reach a settlement.    In the instant situation this is even more vital


as Monsanto has thousands of potential claims to settle or defend while the M&W


Defendants likely would only have the Plaintiff.      Roundup caused the Plaintiff to develop


cancer along with all the horrible things that accompany that diagnosis.            The Plaintiff


rightfully wants this full constitutional access to the courts to provide the full Civil redress


against all the legally responsible parties.   What the Plaintiff does not want to do is to have


to litigate this matter twice and expose himself to potentially inconsistent verdicts.


                 5.   Whether the claims against the new defendant appear valid


             As outlined above, the claims against the new defendants are completely valid.


                 6.   Whether denial of joinder will prejudice the plaintiff


             As outlined above, denial of joinder will create an extreme prejudice to the


Plaintiff.    As this Court is aware, the time, cost, energy and emotional toll it takes to


prosecute these claims is immense.       Should the Court deny the joinder of the legitimate


M&W Defendants the Plaintiff will have to litigate his claims twice for the same set of


damages.


B.      Upon joinder of M&W Supply, Inc., diversity jurisdiction is lost, and the case
        must be remanded to the Circuit Court in and for Sarasota County, Florida.


             The joinder of M&W Supply, Inc., destroys diversity jurisdiction in this case both


M&W defendants were formed and operate in the State of Florida.          The court in Johnson v.


Monsanto Co., No. 16-cv-01244-MMC, 2016 U.S. Dist. LEXIS 58309, at *5-7 (N.D. Cal.


May 2, 2016), specifically analyzed this issue.        In doing so, the Johnson court rejected


Monsanto’s attempt to claim that the joinder of the retailer of Roundup was improper as it




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was “fraudulently” directed at destroying diversity. In rejecting this argument, the Johnson


court engaged in the following analysis:


       Plaintiff seeks remand on the ground that diversity of citizenship does not exist.
       Specifically, plaintiff argues that Monsanto has failed to show Gould, Wilbur-Ellis
       Co. and Wilbur-Ellis Feed are fraudulently joined as defendants.


         A district court has diversity jurisdiction where an action is between citizens of
       different states and the amount in controversy exceeds the sum of $75,000. See 28
       U.S.C. § 1332(a). As noted above, Monsanto acknowledges that each defendant other
       than itself is a citizen of California, as is plaintiff, but contends the citizenship of
       each defendant other than itself should be disregarded. As discussed below, the Court
       finds Monsanto has failed to show Wilbur-Ellis Co. has been fraudulently joined.

         "Fraudulent joinder is a term of art." See McCabe v. General Foods Corp., 81 1 F.
       2d 1336, 1339 (9th Cir. 1987). "If the plaintiff fails to state a cause of action against
       a resident defendant, and the failure is obvious according to the settled rules of the
       state, the joinder of the resident defendant is fraudulent." See id. In seeking to
       establish  a non-diverse defendant has been fraudulently joined, the removing
       defendant "is entitled to present the facts showing the joinder to be fraudulent." See
       id. Thus, in determining whether a defendant has been fraudulently joined, the
       district court may look beyond the pleadings and consider evidence submitted by the
       parties. See Morris v. Princess Cruises, Inc., 236 F. 3d 1061, 1068 (9th Cir. 2001)
       (holding "fraudulent joinder claims may be resolved by piercing the pleadings and
       considering summary judgment-type evidence such as affidavits") (internal quotation
       and citation omitted). The burden is on the removing defendant to prove "by clear
       and convincing evidence" that the plaintiff cannot prevail against the non-diverse
       defendant. See Hamilton Materials, Inc, v. Dow Chemical Corp., 494 F. 3d 1203,
       1206 (9th Cir. 2007) (holding removing defendant's burden is to show it is "not
       possible" for plaintiff to prevail against non-diverse defendant).


         In its Notice of Removal, Monsanto initially argues that Wilbur-Ellis Co. has been
       fraudulently joined, for the asserted reason that the complaint lacks "specific factual
       allegations of liability" on the part of Wilbur-Ellis Co. (See Notice of Removal   16.)
       The Court is not persuaded. As noted, plaintiff alleges Roundup is a defective
       product due to the presence therein of glyphosate (see Compl. PP 22, 56-62, 64, 81-
       82); plaintiff further alleges Wilbur-Ellis was "one of the distributors providing
       Roundup and other glyphosate-containing products actually used by [p]laintiff (see
       Compl.       71). Under California law, an entity that places a "defective product into
       the stream of commerce" can be held strictly liable for injuries caused by that
       product. See Bell v. Industrial Vangas, Inc., 30 Cal. 3d 268, 271 n.l, 279, 179 Cal.
       Rptr. 30, 637 P.2d 266 (1981). To the extent Monsanto is contending plaintiffs
       allegations as to the nature of the defect or Wilbur-Ellis Co.'s role as a distributor are
       not sufficiently detailed, such argument is unavailing, as Monsanto has not shown
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      the state court would preclude amendment. See Albi v. Street & Smith Publications,
      Inc., 140 F.2d 310, 312 & n.4 (9th Cir. 1944) (holding "[a] merely defective
      statement of the plaintiffs action does not warrant removal"; explaining, "[t]he
      plaintiffs right to retain the action in state court should not be defeated by a mere
      failure, through inadvertence or want of skill, perfectly to state the facts constituting
      the cause of action"); see also, e.g., Padilla v. AT&T Corp., 697 F. Supp. 2d 1156,
      1159 (C.D. Cal. 2009) (holding, where removing defendant bases fraudulent joinder
      argument on pleading deficiency, "[r]emand must be granted unless the defendant
      shows that the plaintiff would not be afforded leave to amend his complaint to cure
      the purported deficiency") (internal quotation, citation, and alteration omitted).

         Monsanto also relies on a declaration by Scott M. Hushbeck ("Hushbeck"), a Vice-
      President of Wilbur-Ellis Co., which declaration, Monsanto argues, "contradicts the
      [c]omplaint." (See Monsanto's Opp. to Pl.'s Mot. to Remand at 1:11.) In his
      declaration, Hushbeck states that Wilbur-Ellis Co. "has not sold Roundup,
      RangerPro, or any other glyphosate-containing products to the Benicia Unified
      School District (CA) or the City of Benicia (CA)" (see Hushbeck Decl. 5), and that,
      "[p]rior to 2015, Wilbur-Ellis [Co.] did not have any knowledge of any potential risk
      of cancer, including non-Hodgkin lymphoma, from Roundup, RangerPro, or any
      other glyphosate-containing products" (see id.       7). Assuming the truth of the
      statements made therein, Hushbeck's declaration nonetheless is insufficient to
      support a finding of fraudulent joinder. In particular, Monsanto has not thereby
      shown plaintiffs inability to establish, as against Wilbur-Ellis Co., a claim for strict
      products    liability. See, e.g., Hamilton Materials, 494 F.3d at 1206 (requiring
      defendant to show, "by clear and convincing evidence," it is "not possible" for
      plaintiff to prevail against non-diverse defendant). First, nothing in the declaration
      forecloses plaintiff from establishing his employer purchased Roundup from a
      retailer or other provider which, in turn, had obtained Roundup from Wilbur-Ellis
      Co. Second, Wilbur-Ellis Co.'s asserted lack of knowledge of the defect at the time
      plaintiff used Roundup does not foreclose a claim of strict liability based on a theory
      of design defect, as knowledge of the alleged defect is not an element of such claim.
      See Brown v. Superior Court, 44 Cal. 3d 1049, 1056-57, 245 Cal. Rptr. 412, 751
      P.2d 470 (1988) (explaining that strict liability "focuses not on the conduct of the
       [defendant] but on the product itself, and holds the [defendant] liable if the product
      was defective" and the product "proximately caused injury").

         Accordingly, as Monsanto has not shown Wilbur-Ellis Co. is fraudulently joined
      as a defendant, the Court lacks diversity jurisdiction over the above-titled action, and
      the motion to remand will be granted.

The exact same situation exists in this case, and the eminently proper joinder of M&W


Supply, Inc., as a party Defendant destroys diversity jurisdiction as a matter of law.      As



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such, the result in Johnson applies here and mandates remand of this case to the Circuit


Court in and for Sarasota County, Florida.


                                             CONCLUSION


         For the foregoing reasons, the Plaintiff respectfully requests this Court to grant its


Second Motion for Leave to Amend its Complaint to join the M&W defendants as party


Defendants and raise claims against them.         The proposed Second Amended Complaint is


attached hereto as Exhibit “A” and the Plaintiff requests that it be deemed filed upon this


Court's granting of the Motion for Leave to Amend.          Moreover, upon granting the Motion


for Leave to Amend, diversity jurisdiction is lost, such that the Plaintiff moves for this


Court to remand the case back to the Circuit Court in and for Sarasota County, Florida so


that it can be consolidated with Case number 2021 CA 005137.


                                 CERTIFICATE OF SERVICE


         I hereby certify that the foregoing was electronically filed on Novcmbcr^22021.
and was provided via email to Anthony N. Upshaw. Esq. and Melissa R. Alvarez. Esq.,
McDermott Will & Emery, LLP 333 SE 2nd Avenue, Suite 4500, Miami. FL 33131
(aupshaw@mwe.com’)         and   ( m a 1 varez@ m we.com)   and   Joe    G.   Hollingsworth,    Esq.,
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                                     /

                                               ANTHONY J. MANGANIELLO. HI. ESQ.
                                               Florida Bar No. 0052307
                                               Attorneys for Plaintiff, BUNDY
       01427598-1   01427598-1



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                                         UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA
                                                 SAN FRANCISCO DIVISION


       IN RE: ROUNDUP PRODUCTS LIABILITY                                                Case No. 16-MD-2741-VC
       LITIGATION



       THIS DOCUMENT RELATES TO


       Bundy v. Monsanto, et al. 20-cv-06345-VC
                                                                       I


                     SECOND AMENDED COMPLAINT & DEMAND FOR .JURY TRIAL


               COMES NOW the Plaintiff, ROB BUNDY, by and through his undersigned attorneys.


       and    sues   the    Defendants,     BAYER       CORPORATION.                 MONSANTO   COMPANY,     NKC


       ENTERPRISES, INC., a Florida corporation, d/b/a M & W Supply Co., as successor-in-interest


       to M & W SUPPLY. INC., a dissolved Florida corporation and M & W SUPPLY. INC., a


       dissolved Florida corporation, and states as follows:


                                                 GENERAL ALLEGATIONS


        1.     This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00),


               exclusive of costs and interests.            This Court has subject matter jurisdiction pursuant to


               section 26.012. Florida Statutes.


       2.       Venue is appropriate before the Twelfth Judicial Circuit as the cause of action accrued in


                Sarasota County. Florida.


               At all times material herein, Plaintiff, ROB BUNDY, (hereinafter "BUNDY), was a


               resident of Sarasota County, Florida.


       4.      At     all   times     material    hereto.    the       Defendants,    BAYER   CORPORATION        and


                MONSANTO COMPANY, (hereinafter “BAYER/MONSANTO”),                                were licensed    to


               conduct business and distribute their products within the State of Florida and Sarasota
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    EXHIBIT                                                        1

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       County, Florida and, in fact, did conduct significant business within the State of Florida

       generally and specifically within Sarasota County.    This business included, but is not

       limited to the marketing, distribution and sale of Roundup, a herbicide which has been

       linked to causing Lymphoma.


5.     At all times material hereto, Defendant, M & W SUPPLY, INC., (hereinafter “M&W”),

       was a Florida corporation identifying its principal place of business at 7750 Fruitville

       Rd., Sarasota, FL 34240.     M&W was a retailer of Roundup, and sold Roundup to

       Plaintiff, BUNDY numerous times during the years at issue in this Complaint.

6.    Defendant, NKC ENTERPRISES, INC., d/b/a M&W Supply, Inc., is a Florida

       corporation whose principal place of business is 7750 Fruitville Rd., Sarasota, FL, 34240.


       NKC ENTERPRISES, INC. is the successor-in-interest to M & W SUPPLY, INC., a

       dissolved Florida corporation.


7.     NKC ENTERPRISES, INC. and M & W SUPPLY, INC. are collectively referred to as

       “the M&W Defendants.” M&W SUPPLY, INC. was originally formed in 2002 and was


       voluntarily dissolved on January 13, 2014.


8.     A copy of a corporate search result for M & W SUPPLY, INC. through the State of


       Florida Division of Corporations (“Sunbiz”) is attached hereto as Exhibit “A.”


9.     NKC ENTERPRISES, INC. was formed on June 5, 2013 and is still active.            A copy of


       the corporate search result for NKC ENTERPRISES, INC. through the State of Florida


       Division of Corporations (“Sunbiz”) is attached hereto as Exhibit “B.”


10.    At all times relevant to this proceeding, the M&W Defendants have operated as a


       wholesale landscape supply company at the same address and have common officers and


       directors.    NKC ENTERPRISES, INC.’s website currently states that the company was
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       formed in 2002, the same year M & W SUPPLY, INC. was formed.             A copy of NKC


       ENTERPRISES, INC.’s website is attached hereto as Exhibit “C.”


11.    NKC ENTERPRISES, INC. is a mere a continuation of M & W SUPPLY, INC., pursuant

       to Lab. Corp, ofAmerica v. Prof’l Recovery Network, 813 So.2d 266, 269 (Fla. 5th DCA

       2002).


12.    At all times material hereto, the M&W Defendants are retailers of Roundup, and sold


       Roundup to Plaintiff, BUNDY numerous times during the years at issue in this


       Complaint.


13.    Plaintiff, BUNDY was exposed to, and harmed by, Defendants, BAYER/MONSANTO’s

       product Roundup for a seven year period from 2005 to 2012 as a consequence of his


       ownership of a lawncare business in Sarasota County, Florida and his use of and


       exposure to the Roundup product.


14.    Monsanto, is a wholly owned subsidiary of the Bayer Corporation, having been


       purchased by Bayer Corporation in June 2018 with Bayer assuming all assets and


       liabilities of Monsanto Company, Bayer Corporation and Monsanto Company are jointly


       and severally liable for any and all injuries and harm proximately caused by use of the


       product Roundup to Plaintiff, BUNDY.


15.    At all times material hereto, the M&W Defendants were retailers of Roundup.


16.    Plaintiff, BUNDY purchased Roundup on a regular basis from the M&W Defendants


       during the years at issue in this case.       True and correct copies of receipts showing


       BUNDY’S purchase of Roundup from M&W are attached hereto as Exhibit “D.




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17.    Plaintiff, BUNDY used Roundup purchased at the M&W Defendants on a regular basis,

       and as a result was exposed to and harmed by Roundup, within his lawncare business for

       the seven years prior to his diagnosis of Lymphoma in 2012.


18.    Plaintiff, BUNDY was regularly exposed to the ingredient glysophate, which was a major

       ingredient in the manufacturing of Defendants, BAYER/MONSANTO product Roundup.

19.    Defendants, BAYER/MONSANTO were aware, as early as 1981, that the ingredient

       glysophate was a known carcinogen and that the product Roundup which contained

       glysophate as a major ingredient was therefore not reasonably safe as designed and

       distributed.


20.    Defendants, BAYER/MONSANTO having knowledge of the design defect within its

       product Roundup, failed to warn of glysophate’ s causal relation to cancer and that the


       product was not reasonably safe.


21.    In fact, Defendants, BAYER/MONSANTO distributed scientific papers proclaiming the


       safety   of its    products     while    having       constructive   knowledge   of the    carcinogenic


       characteristics of glysophate.        The Defendants, BAYER/MONSANTO went so far as to


       “ghost write” scientific papers falsely proclaiming the safety of its herbicides all the


       while     knowing      of   the      carcinogenic       properties    of   glysophate.     Defendants,


       BAYER/MONSANTO also intervened within government review of glysophate toxicity


       and engineered efforts to discredit critics of their products.


22.    The      actions    were      done      for   a   singular      purpose:    to   protect   Defendants,


       BAYER/MONSANTO’ s profits by concealing the known cancer risk of Roundup to the


       public and to its consumers.



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23.    As a direct and proximate cause of his exposure to Roundup the Plaintiff, BUNDY


       developed Lymphoma and was forced to undergo extensive and painful treatments


       including but not limited to chemotherapy.           The very nature of this disease, and the


       nature of the exposure, is such that the Plaintiff, BUNDY will suffer increased cancer risk

       the rest of his life and therefore the Plaintiff, BUNDY must undergo continuing


       monitoring to guard against the cancer’s recurrence.          The stress and anxiety associated


       with same has caused a dramatic impact on the Plaintiff, BUNDY’s ability to enjoy his


       life and has caused extreme and ongoing mental anguish.


24.    This disease devastated the Plaintiff, BUNDY’s family, and his business. The disabilities


       associated with Lymphoma has negatively effected the Plaintiff, BUNDY’s ability to


       work and his earning capacity.


25.    The Plaintiff, BUNDY first had notice that Roundup was the cause of his Lymphoma on


       or about April 2, 2020 when he was provided a report by Dr. Tony S. Quang.


               COUNT I - NEGLIGENCE AGAINST BAYER/MONSANTO


26.    The Plaintiff re-alleges and incorporates by reference hereto the allegations contained in


       paragraphs 1 through 26 of the General Allegations, as if fully set forth herein.


27.    As outlined above, Defendants, BAYER/MONSANTO knew that their product, Roundup


       was unreasonably dangerous and likely to cause Lymphoma to the consumers of this


       product.


28.    Despite this knowledge, Defendants, BAYER/MONSANTO continued to negligently


       keep glysophate as part of the design of its Roundup product.             Despite this knowledge,


        Defendants, BAYER/MONSANTO continued to negligently manufacture Roundup with


       glysophate    as    a   major   ingredient.       And,   despite   this   knowledge,   Defendants,
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        BAYER/MONSANTO              never   warned       its   consumers    of the   inherently   dangerous

        properties of glysophate in any of the packaging or materials associated with its product


        Roundup during the years relevant to this action.


29.     These actions were each blatant breaches of the duty Defendants, BAYER/MONSANTO


        owed to its consumer/consumer Plaintiff, BUNDY.

30.     As a direct and proximate result of the above described negligent conduct of the

        Defendants,   BAYER/MONSANTO,                and       the   Plaintiff,   BUNDY’s     exposure   to


        Defendant’s product, Roundup, the Plaintiff, BUNDY, incurred Lymphoma and has


        sustained extensive damages which include but are not limited to:


        (a)    Medical expenses in the past and continuing indefinitely into the future;
        (b)    Devastation to his business and family life in the past and continuing indefinitely
               into the future;
        (c)    Significant and permanent loss of important bodily functions;
        (d)    His ability to work and loss of earning in the past and continuing indefinitely into
               the future;
        (e)    Pain and suffering, emotional distress, loss of enjoyment of life in the past and
               continuing indefinitely into the future; and
        (f)    Entitlement to Punitive damages, which will be separately alleged through
               amendment pursuant to Florida law.


31.     The aforementioned losses/damages are either permanent or continuing in nature and the


        Plaintiff, BUNDY, will continue to suffer such losses in the future.


        WHEREFORE, Plaintiff, BUNDY, by and through his undersigned attorneys demands


judgement against Defendants, BAYER/MONSANTO, jointly and severally for damages in an


amount within the jurisdictional limits of this Court, to wit: more than Thirty Thousand Dollars


($30,000.00) plus costs and for such other relief to which the Plaintiff, BUNDY, may be justly

entitled.


              COUNT II - STRICT LIABILITY AGAINST ALL DEFENDANTS


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32.    The Plaintiff re-alleges and incorporates by reference hereto the allegations contained in

       paragraphs 1 through 26 of the General Allegations, as if fully set forth herein.

33.    At all times relevant to this matter, the Defendants, BAYER, MONSANTO, and the

       M&W Defendants were all a manufacturer, wholesaler, distributor and/or retailer of the

       product Roundup.


34.    Plaintiff, BUNDY was an actual and intended consumer of the product Roundup.

       Plaintiff, BUNDY utilized this product without any substantial change in its condition


       from    the   time     it   was   manufactured    and/or   sold     by   the   Defendants,   BAYER,


       MONSANTO, and the M&W Defendants, and utilized this product in the manner in

       which    it   was    intended     and/or reasonably   foreseen      by   the   Defendants,   BAYER,

       MONSANTO, and the M&W Defendants.


35.    Based on their actions above, the Defendants, BAYER/MONSANTO the                              M&W


       Defendants are        wholly, jointly and severally        liable    for the acts and actions of

       BAYER/MONSANTO, as a consequence of the purchases in whole of all assets and


       liabilities outlined above and by the actions of the M&W Defendants outlined above.


36.    At all times relevant Roundup was inherently and unreasonably dangerous as it contained


       the known carcinogen glysophate.


37.    Defendants, BAYER, MONSANTO, and the M&W Defendants are strictly liable to


       Plaintiff, BUNDY under Restatement of Torts § 402A and Florida Law, making


       Defendants strictly liable for their product which was not reasonably safe as designed,


       manufactured and/or not reasonably safe because adequate warnings or instructions were


       not provided.       See e.g., Johnson v. Monsanto Co., No. 16-cv-01244-MMC, 2016 U.S.


       Dist. LEXIS 58309, at *5-7 (N.D. Cal. May 2, 2016); Taylor v, Costco Wholesale Corp.,
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       No. 2:20-cv-00655-KJM-DMC, 2020 U.S. Dist. LEXIS 187348, at *1-2 (E.D. Cal. Oct.

       7, 2020).


38.    As a direct and proximate result of the above described conduct and the above described


       activities by the Defendants, BAYER, MONSANTO, the M&W Defendants, and the


       Plaintiff, BUNDY’s exposure to Defendants’ product, Roundup, the Plaintiff, BUNDY,

       incurred Lymphoma and has sustained extensive damages which include but are not

       limited to:


       (a)     Medical expenses in the past and continuing indefinitely into the future;
       (b)     Devastation to his business and family life in the past and continuing indefinitely
               into the future;
       (c)     Significant and permanent loss of important bodily functions;
       (d)     His ability to work and loss of earning in the past and continuing indefinitely into
               the future;
       (e)     Pain and suffering, emotional distress, loss of enjoyment of life in the past and
               continuing indefinitely into the future; and
       (f)     Entitlement to punitive damages, which will be separately alleged through
               amendment pursuant to Florida law.


       WHEREFORE, Plaintiff, BUNDY, by and through his undersigned attorneys demands


judgement against Defendants, BAYER, MONSANTO, and the M&W Defendants jointly and


severally for damages in an amount within the jurisdictional limits of this Court, to wit: more


than Thirty Thousand Dollars ($30,000.00) plus costs and for such other relief to which the


Plaintiff, BUNDY, may be justly entitled.


                                  DEMAND FOR JURY TRIAL


       Plaintiff hereby demands trial by jury concerning all issues contained in the above styled


cause of action.


                                  CERTIFICATE OF SERVICE


       I hereby certify that the foregoing was electronically filed on November 3, 2021, and was
provided via email to Anthony N. Upshaw, Esq. and Melissa R. Alvarez, Esq., McDermott Will
       01427642-1      01427642-1



                                                 8
    Case 3:16-md-02741-VC Document 14151 Filed 11/05/21 Page 23 of 54




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                                         ANTHONY J. MANGANIELLO, III, ESQ.
                                         Florida Bar No. 0052307
                                         Attorneys for Plaintiff, BUNDY




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                IN THE CIRCUIT COURT FOR THE TWELFTH JUDICIAL CIRCUIT
                             IN AND FOR SARASOTA COUNTY, FLORIDA
                                              CIVIL DIVISION


      ROB BUNDY, a single person,


              Plaintiff,


      vs.                                                          Case No.:


      NKC ENTERPRISES, INC., a Florida
      corporation, d/b/a M & W Supply Co., and
      M & W SUPPLY, INC., a
      dissolved Florida corporation


              Defendants.
                                                            I



                              COMPLAINT & DEMAND FOR JURY TRIAL


              COMES NOW the Plaintiff, ROB BUNDY, by and through his undersigned attorneys,


      and sues the Defendants, NKC ENTERPRISES, INC., a Florida corporation, d/b/a M & W


      Supply Co., as successor-in-interest to M & W SUPPLY, INC., a dissolved Florida corporation,


      and M & W SUPPLY, INC., a dissolved Florida corporation, and states as follows:




                                           GENERAL ALLEGATIONS


      1.      This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00),


              exclusive of costs and interests.   This Court has subject matter jurisdiction pursuant to


              section 26.012, Florida Statutes.


      2.       Venue is appropriate before the Twelfth Judicial Circuit as the cause of action accrued in


               Sarasota County, Florida.




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     IBIT

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3.      At all times material herein, Plaintiff, ROB BUNDY, (hereinafter “BUNDY), was a

        resident of Sarasota County, Florida.

4.      Defendant, M&W SUPPLY, INC., is a dissolved Florida corporation whose principal

        place of business was 7750 Fruitville Rd., Sarasota, FL, 34240.

5.      Defendant, NKC ENTERPRISES, INC., d/b/a M&W Supply, Inc., is a Florida

        corporation whose principal place of business is 7750 Fruitville Rd., Sarasota, FL, 34240.

        NKC ENTERPRISES, INC. is the successor-in-interest to M & W SUPPLY, INC., a

        dissolved Florida corporation. NKC ENTERPRISES, INC. and M & W SUPPLY, INC.


        are collectively referred to as “the M&W Defendants.


6.      M&W SUPPLY, INC. was originally formed in 2002 and was voluntarily dissolved on


        January 13, 2014.    A copy of a corporate search result for M & W SUPPLY, INC.


        through the State of Florida Division of Corporations (“Sunbiz”) is attached hereto as

        Exhibit “A.”

7.      NKC ENTERPRISES, INC. was formed on June 5, 2013 and is still active.          A copy of

        the corporate search result for NKC ENTERPRISES, INC. through the State of Florida


        Division of Corporations (“Sunbiz”) is attached hereto as Exhibit "B.

8.      At all times relevant to this proceeding, the M&W Defendants have operated as a


        wholesale landscape supply company at the same address and have common officers and


        directors.   NKC ENTERPRISES, INC.’s website currently states that the company was

         formed in 2002, the same year M&W SUPPLY, INC. was formed.              A copy of NKC


        ENTERPRISES, INC.’s website is attached hereto as Exhibit “C.”




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9.      NKC ENTERPRISES, INC. is a mere a continuation of M & W SUPPLY, INC., pursuant

        to Lab. Corp, ofAmerica v. Profl Recovery Network, 813 So.2d 266, 269 (Fla. 5,h DCA

        2002).


10.     At all times material hereto, the M&W Defendants are retailers of Roundup, and sold

        Roundup to Plaintiff, BUNDY numerous times during the years at issue in this

        Complaint.

11.     Plaintiff, BUNDY was exposed to, and harmed by Roundup a product manufactured by


        Monsanto Company (“Monsanto”) for a seven-year period from 2005 to 2012 as a

        consequence of his ownership of a lawncare business in Sarasota County, Florida and his


        use of and exposure to the Roundup product.

12.     Plaintiff, BUNDY purchased Roundup on a regular basis from the M&W Defendants

        during the years at issue in this case.       True and correct copies of receipts showing

        BUNDY’S purchase of Roundup from the M&W Defendants are attached hereto as


        Exhibit “D.”

13.     Plaintiff, BUNDY used Roundup purchased through the M&W Defendants on a regular

        basis, and as a result was exposed to and harmed by Roundup, within his lawncare

        business for the seven years prior to his diagnosis of Lymphoma in 2012.

14.      Plaintiff, BUNDY was regularly exposed to the ingredient glysophate, which was a major

        ingredient in the manufacturing of Roundup.

15.      Monsanto was aware, as early as 1981, that the ingredient glysophate was a known


        carcinogen and that the product Roundup which contained glysophate as a major

         ingredient was therefore not reasonably safe as designed and distributed.



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16.   Monsanto had knowledge of the design defect within its product Roundup, failed to warn

      of glysophate’s causal relation to cancer and that the product was not reasonably safe.

17.   Monsanto distributed scientific papers proclaiming the safety of its products while having

      constructive knowledge of the carcinogenic characteristics of glysophate.        Monsanto

      went so far as to “ghost write” scientific papers falsely proclaiming the safety of its

      herbicides all the while knowing of the carcinogenic properties of glysophate. Monsanto

      also intervened within government review of glysophate toxicity and engineered efforts

      to discredit critics of their products.

18.   The actions were done for a singular purpose: to protect Monsanto’s profits by


      concealing the known cancer risk of Roundup to the public and to its consumers.

19.   As a direct and proximate cause of his exposure to Roundup the Plaintiff, BUNDY

      developed Lymphoma and was forced to undergo extensive and painful treatments

      including but not limited to chemotherapy.      The very nature of this disease, and the

      nature of the exposure, is such that the Plaintiff, BUNDY will suffer increased cancer risk


      the rest of his life and therefore the Plaintiff, BUNDY must undergo continuing

      monitoring to guard against the cancer’s recurrence.    The stress and anxiety associated

      with same has caused a dramatic impact on the Plaintiff, BUNDY’s ability to enjoy his

      life and has caused extreme and ongoing mental anguish.

20.   This disease devastated the Plaintiff, BUNDY’s family, and his business. The disabilities

      associated with Lymphoma has negatively affected the Plaintiff, BUNDY’s ability to

      work and his earning capacity.


21.   The Plaintiff, BUNDY first had notice that Roundup was the cause of his Lymphoma on


      or about April 2, 2020 when he was provided a report by Dr. Tony S. Quang.
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       COUNT I - STRICT LIABILITY AGAINST THE M&W DEFENDANTS

22.   The Plaintiff re-alleges and incorporates by reference hereto the allegations contained in

      paragraphs 1 through 21 of the General Allegations, as if fully set forth herein.

23.   At all times relevant, the M&W Defendants were distributors and/or retailers of the

      product Roundup.

24.   Plaintiff, BUNDY was an actual and intended consumer of the product Roundup.

      Plaintiff, BUNDY utilized this product without any substantial change in its condition

      from the time it was sold by the M&W Defendants and utilized this product in the

      manner in which it was intended and/or reasonably foreseen by the M&W Defendants.

25.   At all times relevant Roundup was inherently and unreasonably dangerous as it contained

      the known carcinogen glysophate.

26.   The M&W Defendants are strictly liable to Plaintiff, BUNDY under Restatement of Torts


      § 402A and Florida Law, making Defendant strictly liable for the sale of Roundup which


      was not reasonably safe as designed, manufactured and/or not reasonably safe because


      adequate warnings or instructions were not provided. See e.g.. Johnson v. Monsanto Co..

      No. 16-cv-01244-MMC, 2016 U.S. Dist. LEXIS 58309, at *5-7 (N.D. Cal. May 2, 2016);


      Taylor v, Costco Wholesale Corp., No. 2:20-cv-00655-KJM-DMC, 2020 U.S. Dist.

      LEXIS 187348, at *1-2 (E.D. Cal. Oct. 7, 2020).


27.   As a direct and proximate result of the above-described conduct and the above described


      activities by the M&W Defendants, and the Plaintiff, BUNDY’s exposure to Monsanto’s

      product, Roundup, the Plaintiff,     BUNDY,      incurred Lymphoma and has sustained

      extensive damages which include but are not limited to:

      (a)    Medical expenses in the past and continuing indefinitely into the future;
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       (b)     Devastation to his business and family life in the past and continuing indefinitely
               into the future;
       (c)     Significant and permanent loss of important bodily functions;
       (d)     His ability to work and loss of earning in the past and continuing indefinitely into
               the future;
       (e)     Pain and suffering, emotional distress, loss of enjoyment of life in the past and
               continuing indefinitely into the future; and
       (0      Entitlement to punitive damages, which will be separately alleged through
               amendment pursuant to Florida law.



       WHEREFORE, Plaintiff, BUNDY, by and through his undersigned attorneys demands

judgement against the M&W Defendants for damages in an amount within the jurisdictional

limits of this Court, to wit: more than Thirty Thousand Dollars ($30,000.00) plus costs and for

such other relief to which the Plaintiff, BUNDY, may be justly entitled.




                                    DEMAND FOR JURY TRIAL

       Plaintiff hereby demands trial by jury concerning all issues contained in the above styled

cause of action.




      DESIGNATION OF EMAIL ADDRESSES FOR SERVICE OF DOCUMENTS

       Pursuant to Florida Rule of Judicial Administration 2.516(b)(1)(A), the undersigned

counsel gives notice of the following primary and secondary e-mail addresses for service of

pleadings in this matter:



       Primary Email Address: Amangnaiello@icardmerrill.com


       Secondary Email Address: Rgrek@icardmerrill.com




       DATED this 7 |        day of November, 2021.


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Case 3:16-md-02741-VC Document 14151 Filed 11/05/21 Page 30 of 54




                               ICARD, MERRILL, CULLIS, TIMM,
                               FUREN & GINSBURG, P.A.
                               2033 Main Street, Suite 600
                               Postal Drawer 4195
                               Sarasota, Flpnaa 34230
                               (941) 366-/1 Op- Phone
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                               ANTHONY. . MANGANIELLO, III, ESQ.
                               Florida Bar No. 0052307
                               Attorneys fM>laintiff, BUNDY
                               amansaniello(a),icardmerrill.com
                               rgrek(a).icardmerrid. com




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       Case 3:16-md-02741-VC Document 14151 Filed 11/05/21 Page 31 of 54
Detail by Entity Name                                                                                                Page 1 of 2



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         Detail by Entity Name
        Florida Profit Corporation
        M & W SUPPLY. INC

        Filing Information

        Document Number                            P02000017120

        FEI/EIN Number                             XX-XXXXXXX

        Date Filed                                 02/11/2002

        State                                      FL

        Status                                     INACTIVE

        Last Event                                 VOLUNTARY DISSOLUTION

        Event Date Filed                           01/13/2014

        Event Effective Date                       NONE

        Principal Address

        7750 FRUITVILLE RD
        SARASOTA, FL 34240


        Changed: 01/08/2003

        Mailing Address

        7750 FRUITVILLE RD
        SARASOTA, FL 34240

        Registered Agent Name & Address

        MILLER, DOREEN
        7750 FRUITVILLE RD.

        SARASOTA, FL 34240


        Name Changed: 01/08/2003



        Address Changed: 01/08/2003

        Officer/Director Detail

        Name & Address



        Title PS


        MILLER, DOREEN
        30631 BETTS RD

        MYAKKA CITY. FL 34251


        Title VT                                               EXHIBIT




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Detail by Entity Name                                                                                       Page 2 of 2




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      SARASOTA. FL 34232



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      Report Year              Filed Date

      2011                     01/06/201 1

      2012                     01/05/2012

      2013                     01/09/2013



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Detail by Entity Name                                                                                       Page I of 2



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         Detail by Entity Name
         Florida Profit Corporation

         NKC ENTERPRISES. INC

         Filing Information

         Document Number                        P 13000048998

         FEI/EIN Number                        XX-XXXXXXX

         Date Filed                             06/05/2013

         State                                  FL

         Status                                ACTIVE

         Principal Address

         7750 FRUITVILLE RD
         SARASOTA, FL 34240



         Changed       12/06/2013

         Mailing Address

         7750 FRUITVILLE RD
         SARASOTA, FL 34240

         Registered Agent Name & Address

         BRUGLER. DOUGLAS G
         13611 BLYTHEFIELD TERRACE

         LAKEWOOD RANCH. FL 34202

         Officer/Director Detail

         Name & Address



         Title D



         BRUGLER, DOUGLAS
         7750 FRUITVILLE RD
         SARASOTA, FL 34240



         Title Secretary



         Brugler, Nancy
         7750 FRUITVILLE RD

         SARASOTA, FL 34240



         Annual Reports
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Detail by Entity Name                                                                        Page 2 of 2



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         About

         A Sarasota Area Landscape Supply Company

         M & W Supply Co. is a wholesale landscape supply company operating in Sarasota. Florida. We cater to

         professional contractors, as well as homeowners who want to take the do-it-yourself approach. Since
         2002, we have been offering customers throughout the area the largest selection of the highest-quality
         landscape products at great prices. Come to see us today. We have all the products you need to fulfill your
         landscaping needs.




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About our landscape supply, Sarasota, FL | M & W Supply Co.                                            https://mw-supply.com/about/




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         We feature mulch, sod, plants, rocks, pavers, chemicals, and many more products to accommodate all sizes
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         professional job coming up or you want to spruce up your yard with an innovative DIY approach, we have
         everything you need to get the job done.



         Look for the “Green Shirts”

         Not only do we provide high-quality products at fantastic prices, we also provide service with a smile. All of
         our staff are trained, experienced, and ready to serve you. The next time you need products or service for
         your next landscaping project, give us a call or visit our warehouse and see all the products that we have in
         store.




                                                                     (941) 343-9954




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                                                               Hours

                                                               Monday - Friday: 7:00 am - 5:00 pm
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                                                               Material Calculator

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M&W Supply Inc Company Profile | Sarasota, FL | Competitors, Financials & Contacts... Page 16 of 20




                     Doreen Miller                                    Aaron Hochstetler

                          President                                        Salesman




                                              Douglas Brugler
                                                   Owner




                           View additional contacts with D&B Hoovers.


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    Industry Information
   See trends, challenges and opportunities with similar companies in these industries.


   Services to Buildings and Dwellings (/business-directory/industry-
   analysis.services_to_buildings_and_dwellings.html)

   This industry group comprises establishments primarily engaged in one of the following:
   (1) exterminating...



   Administrative and Support Services (/business-directory/industry-
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    "Industries in the Administrative and Support Services subsector group establishments
   engaged in activities...


   Administrative and Support and Waste Management and Remediation Services
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   The Administrative and Support and Waste Management and Remediation Services
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M&W Supply Inc Company Profile | Sarasota, FL | Competitors, Financials & Contacts... Page 11 of 20



   M&W Supply


   Website

   www.mw-supply.com (http://www.mw-supply.com)

   Address

   7750 Fruitville Rd Sarasota , FL , 34240-9255 United States

   Phone

   (941) 343-9954

   Company Description

   M&W Supply Inc is located in Sarasota, FL, United States and is part of the Services to Buildings and
   Dwellings Industry. M&W Supply Inc has 15 total employees across all of its locations and generates

   $652,625 in sales (USD). (Sales figure is modelled).

   Key Principal

   Doreen Miller                                                                          See more contacts

   Industry

   Services to Buildings and Dwellings (/business-directory/industry-
   analysis.services_to_buildings_and_dwellings.html)

   Administrative and Support Services (/business-directory/industry-
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   Administrative and Support and Waste Management and Remediation Services (/business-
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   Landscape contractors




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Case 3:16-md-02741-VC Document 14151 Filed 11/05/21 Page 42 of 54




                    M                               7750 Fruitville Rd.
                            Supply, inc.            Sarasota, FL 34240
                    &            Wholesale
                                                    Phone: 941-343-9954
                                                    Fax:    941-343-9964
                                                    Email: mandwsupply@myway.cotn
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           /M\.—                                             7750 Fruitville Rd.
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           ( & } supply5 Inc.                                Sarasota, FL 34240
                                                             Phone: 94 1 -343-9954
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           \ °/Z    Wliolesale                               Fax: -941-343-9964

            \w                                               Email: mandwsupply@myway.com       ‘




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                            Supply, Inc.                 Snrutnin, FL 34240

                &                 Wholesale
                                                         Phone: 94 (>.143-9954
                                                         Fux:   941-343-9*164
                                                         Email: mniidwsupplydDniyn'ay.com
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                Mir                                       7750 Fruitville Rd.
                         Supply? Inc.                     Sarasota, FL 34240
                St                Wholesale
                                                          Phone: 941*343-9954
                                                          Fax:    941-343*9964
                                                          Email: mandwsupply@myway.com
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                                                             7750 Fruitville Rd.
                                      Supply, Inc.           Sarasota, FL 34240
                       &                 Wholesale
                                                             Phone: 941.343*9954
                                                             Fax:   941-343*9964
                                                             Email: mandwsupply@tnyway.cum
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                          M                                     7750 Fruitville Rd.

                                Supply, Inc.                    Sarasota, FL 34240
                                                                Phone: 941-343-9954
                          <8s         Wholesale                 Fax:   941-343-9964
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                       Supply, Inc.               Sarasota. FL 34240
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                         i                                                         7730 Fruitville Rd.
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                     I                                  Wholesale                  Fax':   941-343-9964
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                                      M                                   7750 Fruitville Rd.
                                             Supply, Inc.                 Sarasota. FL 34240
                                      &            Wholesale
                                                                          Phone:941-343-9954
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